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 6
                               UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON
 8
      UNITED STATES OF AMERICA,                    )
 9                                                 )    No. CR-05-180-LRS-1
                        Plaintiff,                 )        CR-05-180-LRS-2
10                                                 )
      v.                                           )    ORDER GRANTING UNOPPOSED
11                                                 )    MOTIONS TO MODIFY
      DIXIE ELLEN RANDOCK,                         )
12    STEVEN KARL RANDOCK, SR.,                    )
                                                   )
13                      Defendants.                )

14         BEFORE THE COURT are Defendants’ unopposed Motions to Modify

15   Release Conditions (Ct. Rec. 159, 160).                For good cause shown,

16         IT IS ORDERED the Motions (Ct. Recs. 159, 160) are GRANTED.

17   Defendants’ conditions of release are MODIFIED as follows:

18         1.    Only to the limited extent their computer skills are

19   necessary to assist in their defense, and under the supervision of

20   defense counsel, they may have access to computers and to the

21   internet as follows:

22         a.    To review the voluminous discovery and to review limited

23               information on Liberia.

24         b.    Defendants shall keep a record (log of dates and times

25               reviewing) as to every site visited.

26         c.    Defendants       shall      not       engage   in    work   for   online

27               universities.

28         d.    Defendants shall not contact or do background research on


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 1               government witnesses.
 2         2.    Defendants shall abide by all other conditions in the
 3   court’s Order filed October 27, 2006.
 4         DATED April 6, 2006.
 5
 6                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTIONS TO MODIFY - 2
